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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   BRIAN ANTHONY THORNTON,

 9                              Plaintiff,                 Case No. C21-1483-JCC

10          v.                                             ORDER GRANTING IFP
                                                           APPLICATION
11   HILTON WORLDWIDE HOLDINGS
     INC., et al.,
12
                                Defendants.
13

14          Because Plaintiff does not appear to have funds available to afford the $402 filing fee,

15   Plaintiff financially qualifies for in forma pauperis (IFP) status pursuant to 28 U.S.C. §

16   1915(a)(1). Therefore, Plaintiff’s IFP application, Dkt. 1, is GRANTED. The Clerk of the Court

17   is directed to send a copy of this Order to Plaintiff and to the assigned District Judge.

18          Dated this 4th day of November, 2021.

19
                                                           A
20                                                         S. KATE VAUGHAN
                                                           United States Magistrate Judge
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     ORDER GRANTING IFP APPLICATION - 1
